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 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     MICHAEL LENOIR SMITH,                                 Case No. 2:18-cv-2942 KJM AC P
12
                                            Plaintiff, [PROPOSED] ORDER
13
                     v.
14

15   CDCR, et al.,
16                                       Defendants.
17

18         The Court, having considered Defendants’ request for an extension of time to and including

19   January 9, 2024, to file a response to Plaintiff’s motion for sanctions (ECF No. 90), and good

20   cause having been found:

21         IT IS ORDERED: Defendants’ request (ECF No. 92) is granted. Defendants are granted

22   an extension of time to and including January 9, 2024, to file a response to Plaintiff’s motion for

23   sanctions.

24   DATED: January 2, 2024

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                                                                   [Proposed] Order (2:18-cv-2942 KJM AC P)
